Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Edmonds Wellness Clinic, Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7935 216th St SE
                                  Suite E
                                  Edmonds, WA 98026
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Snohomish                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                    WA
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.edmondswellness.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 25-10741-CMA                   Doc 1       Filed 03/20/25            Ent. 03/20/25 17:56:08                Pg. 1 of 11
Debtor    Edmonds Wellness Clinic, Inc                                                                Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6214

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:

                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 25-10741-CMA                     Doc 1      Filed 03/20/25              Ent. 03/20/25 17:56:08                    Pg. 2 of 11
Debtor    Edmonds Wellness Clinic, Inc                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 25-10741-CMA                            Doc 1      Filed 03/20/25            Ent. 03/20/25 17:56:08                   Pg. 3 of 11
Debtor   Edmonds Wellness Clinic, Inc                                                Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 25-10741-CMA           Doc 1       Filed 03/20/25         Ent. 03/20/25 17:56:08            Pg. 4 of 11
Debtor    Edmonds Wellness Clinic, Inc                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 20, 2025
                                                  MM / DD / YYYY


                             X /s/ Mark H. Nolting                                                        Mark H. Nolting
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Thomas D. Neeleman                                                      Date March 20, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas D. Neeleman 33980
                                 Printed name

                                 Neeleman Law Group, P.C.
                                 Firm name

                                 1403 8th Street
                                 Marysville, WA 98270
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (425) 212-4800                Email address      courtmail@expresslaw.com

                                 33980 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 25-10741-CMA                  Doc 1        Filed 03/20/25             Ent. 03/20/25 17:56:08                 Pg. 5 of 11
 Fill in this information to identify the case:
 Debtor name Edmonds Wellness Clinic, Inc
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 AMEX                                                Credit Card                                                                                                   $4,159.41
 P.O. Box 96001
 Los Angeles, CA
 90096
 Banker's Healthcare                                 Loan                                                   $46,470.10                        $0.00              $46,470.10
 Group
 10234 W State Rd 84
 Fort Lauderdale, FL
 33324
 Celtic Bank                                         Loan (SBA)                                                                                                  $96,834.54
 268 S State St. Suite
 300
 Salt Lake City, UT
 84111
 Citicards                                           Credit Cards                                                                                                $14,485.07
 PO BOX 6077
 Sioux Falls, SD
 57117
 Fundbox                                             Loan                                                                                                          $4,060.44
 300 Montgomery St,
 Ste 900
 San Francisco, CA
 94104
 Headway Capital                                     Loan                                                                                                        $27,000.00
 175 W Jackson
 Blvd, Ste 1000
 Chicago, IL 60604
 InBody                                              In Body 580 Body                                       $21,047.18                 $21,047.00                        $0.18
 13850 Cerritos                                      Composition
 Corporate Dr                                        Analyzer - Leased
 Unit C
 Cerritos, CA 90703
 IRS                                                 Taxes                                                                                                               $0.00
 Centralized
 Insolvency
 P.O. Box 7346
 Philadelphia, PA
 19101-7346

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    Edmonds Wellness Clinic, Inc                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Kapitus                                             Loan                                                                                                      $100,000.00
 2500 Wilson Blvd,
 Suite 350
 Arlington, VA 22201
 LabCorp                                             Lab Charges                                                                                                   $7,635.07
 P.O. Box 2240
 Burlington, NC
 27216-2240
 McKesson Medical                                    Medical Supplies                                                                                              $8,320.73
 Supply
 P.O. Box 933027
 Atlanta, GA
 31193-3027
 On Deck                                             Line of Credit                                                                                              $25,000.00
 4700 West Day
 Break Pkw
 Suite 200
 Eagle Mountain, UT
 84005
 QL Tilting Trust Ltd                                Emsculpt Neo -                                         $94,000.00                        $0.00              $94,000.00
 9830 Bauer Drive                                    Leased
 Indianapolis, IN
 46280
 Ready Capital                                       Loan                                                                                                        $49,071.64
 200 Connel dr, Suite
 4000
 Berkeley Heights,
 NJ 07922
 The Fundworks,                                      Loan                                                                                                        $13,626.00
 LLC
 299 S Main St, Suite
 1300
 Salt Lake City, UT
 84111
 United First LLC                                    Loan                                                   $25,000.00                        $0.00              $25,000.00
 Global Funding
 Experts
 2999 NE 191st Unit
 901
 Miami, FL 33180
 WA Department of                                    2024                                                                                                          $3,896.80
 Revenue
 2101 4th Ave, Ste
 1400
 Seattle, WA 98121




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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                        AMEX
                        P.O. BOX 96001
                        LOS ANGELES, CA 90096


                        ATTORNEY GENERAL FOR WA STATE
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 FIFTH AVE, 20TH FLOOR
                        SEATTLE, WA 98104


                        BANKER'S HEALTHCARE GROUP
                        10234 W STATE RD 84
                        FORT LAUDERDALE, FL 33324


                        CELTIC BANK
                        268 S STATE ST. SUITE 300
                        SALT LAKE CITY, UT 84111


                        CITICARDS
                        PO BOX 6077
                        SIOUX FALLS, SD 57117


                        FUNDBOX
                        300 MONTGOMERY ST, STE 900
                        SAN FRANCISCO, CA 94104


                        HEADWAY CAPITAL
                        175 W JACKSON BLVD, STE 1000
                        CHICAGO, IL 60604


                        INBODY
                        13850 CERRITOS CORPORATE DR
                        UNIT C
                        CERRITOS, CA 90703


                        IRS
                        CENTRALIZED INSOLVENCY
                        P.O. BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        JINDE CHEN/ZHIFANG DENG
                        714 BIRCH PL
                        EDMONDS, WA 98020




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                    JOSHUA J. PROVOST, ATTY
                    25852 MCBEAN PKW
                    SUITE 801
                    VALENCIA, CA 91355


                    KAPITUS
                    2500 WILSON BLVD, SUITE 350
                    ARLINGTON, VA 22201


                    LABCORP
                    P.O. BOX 2240
                    BURLINGTON, NC 27216-2240


                    MARK H. NOLTING
                    714 BIRCH PLACE
                    EDMONDS, WA 98020


                    MCKESSON MEDICAL SUPPLY
                    P.O. BOX 933027
                    ATLANTA, GA 31193-3027


                    ON DECK
                    4700 WEST DAY BREAK PKW
                    SUITE 200
                    EAGLE MOUNTAIN, UT 84005


                    PEAC
                    P.O. BOX 13604
                    PHILADELPHIA, PA 19101-3604


                    QL TILTING TRUST LTD
                    9830 BAUER DRIVE
                    INDIANAPOLIS, IN 46280


                    READY CAPITAL
                    200 CONNEL DR, SUITE 4000
                    BERKELEY HEIGHTS, NJ 07922


                    SBA
                    SEATTLE DISTRICT OFFICE
                    2401 FOURTH AVE, SUITE 400
                    SEATTLE, WA 98121




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                    THE FUNDWORKS, LLC
                    299 S MAIN ST, SUITE 1300
                    SALT LAKE CITY, UT 84111


                    TODAY'S BANK
                    432 MADISON 1650
                    HUNTSVILLE, AR 72740


                    UNITED FIRST LLC
                    GLOBAL FUNDING EXPERTS
                    2999 NE 191ST UNIT 901
                    MIAMI, FL 33180


                    UNITED STATES ATTORNEYS OFFICE
                    ATTN: BANKRUPTCY ASSISTANT
                    700 STEWART STREET, ROOM 5220
                    SEATTLE, WA 98101


                    WA DEPARTMENT OF REVENUE
                    2101 4TH AVE, STE 1400
                    SEATTLE, WA 98121


                    WA EMPLOYMENT SECURITY DEPT
                    P.O. BOX 9046
                    OLYMPIA, WA 98507-9046


                    WA STATE L&I
                    PO BOX 44000
                    OLYMPIA, WA 98504




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                                          United States Bankruptcy Court
                                              Western District of Washington
 In re   Edmonds Wellness Clinic, Inc                                                  Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Edmonds Wellness Clinic, Inc in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




March 20, 2025                                   /s/ Thomas D. Neeleman
Date                                             Thomas D. Neeleman 33980
                                                 Signature of Attorney or Litigant
                                                 Counsel for Edmonds Wellness Clinic, Inc
                                                 Neeleman Law Group, P.C.
                                                 1403 8th Street
                                                 Marysville, WA 98270
                                                 (425) 212-4800 Fax:(425) 212-4802
                                                 courtmail@expresslaw.com




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